    Case 4:25-cv-00108-MW-MJF         Document 1   Filed 03/11/25   Page 1 of 51




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA,
                        NORTHERN DIVISION


GEORGE CLINTON

                     Plaintiff,
         v.

ARMEN BOLADIAN;                                Civil Action No. ____
BRIDGEPORT MUSIC, INC.;
WESTBOUND RECORDS, INC.;
NINE RECORDS, INC.,                            JURY TRIAL DEMANDED
SOUTHFIELD MUSIC, INC.; and
EASTBOUND RECORDS, INC.
                     Defendants.



                                     COMPLAINT

      Plaintiff George Clinton, (“George Clinton” or “Clinton”) through

undersigned counsel, files these claims against Defendants Armen Boladian

(“Boladian”), Bridgeport Music, Inc. (“Bridgeport”), Westbound Records, Inc.

(“Westbound”), Nine Records, Inc. (“Nine Records”), Southfield Music, Inc.

(“Southfield”), and Eastbound Records, Inc. (“Eastbound”) (together, “Defendant

Business Entities”) (Defendant Business Entities collectively with Boladian,

“Defendants”), stating as follows:




                                          1
              Case 4:25-cv-00108-MW-MJF    Document 1      Filed 03/11/25   Page 2 of 51




                                       INTRODUCTION

         1.    GRAMMY award-winning singer, songwriter, record producer, bandleader,

and visionary George Clinton (“Clinton”) is one of the most influential artists alive today.

An American icon, his works have been and are celebrated across the globe.

         2.    In 2019 Clinton received the GRAMMY Lifetime Achievement Award at the

GRAMMY Salute to Music Legends.

         3.    After launching his career in the 1960s, Clinton authored and recorded

thousands of songs and sound recordings while painstakingly building one of the richest

and most sampled music catalogs 1 (“catalog”) in United States history.

         4.    Clinton achieved his first top ten hit with his doo-wop and R&B band, The

Parliaments, after the release of their record, “(I Just Wanna) Testify” in 1967.

         5.    His     songs      “Flashlight”,       of     the     Parliament       album

(1977); “Mothership Connection (Star Child)”, of the Parliament album (1975); “I’d

Rather Be With You” of the Bootsy’s Rubber Band album (1976); “(Not Just) Knee

Deep” of the Funkadelic album (1979); and “Atomic Dog” of the George Clinton album

(1982) are some of the most sampled songs in United States History.

         6.    Following his initial worldwide success in 1967, Defendants developed a

decades long scheme to defraud Clinton and successful artists like Clinton. This scheme



     1
      A music catalog is a collection of songs (i.e., a list of musical compositions) and
     sound recordings originating from the same creator.

                                                  2
               Case 4:25-cv-00108-MW-MJF    Document 1    Filed 03/11/25   Page 3 of 51




involved (1) seeking out Clinton and developing a business relationship with the young

new artist, (2) fraudulently acquiring rights to Clinton’s catalog, (3) adding fictitious

songwriters to dilute Clinton’s share in songwriters royalties that BMI would typically

allocate to songwriters, (4) collecting royalties 2 from Clinton’s catalog while fraudulently

denying Clinton tens of millions of dollars of royalties 3 to which he is owed, (5) signing

agreements on behalf of Clinton without his knowledge or express consent and retaining

millions of dollars in licensing fees, royalties, and monies, (6) failing to provide the

required accounting of royalties owed to Clinton per industry standard 4, and (7) suing

other producers and artists who sample songs to which Defendants fraudulently acquired

rights.

          7.    As part of this scheme, Defendants fraudulently obtained the copyrights to

approximately 90% of Clinton’s catalog.




     2
       Royalties are monies generated from the licensing and copyright of songs and
     recordings. These monies serve as a primary form of payment for musicians, who
     are typically the asset owner of the right to use their music.
     3
        Music royalties are compensatory payments received by rights holders
     (songwriters, composers, recording artists, and their respective representatives) in
     exchange for the licensed use of their music.
     4
       Under common industry standard Plaintiff should receive accounting twice a year
     and then within 90 days of each accounting, Plaintiff would receive royalty
     payment.

                                                 3
             Case 4:25-cv-00108-MW-MJF     Document 1      Filed 03/11/25   Page 4 of 51




        8.    Defendants have repeatedly violated industry standards by failing to provide

accounting reports of the royalties collected from songs in Clinton’s catalog registered

with BMI and ASCAP 5.

        9.    To this day, Defendants continue to unlawfully copy, sell, license, and

distribute George Clinton’s music and image, in violation of Federal and State laws, as

set forth in detail below. Clinton has suffered and continues to suffer significant

economic injury as a result of Defendants wrongful conduct and seeks redress before this

Honorable Court.

                                            PARTIES

        10. Plaintiff Clinton is an individual residing in the State of Florida.

        11. Defendant Armen Boladian is an individual, residing in the State of Michigan.

Boladian is the sole owner of several entertainment companies, including but not limited

to, Bridgeport Music, Inc., Westbound Records, Inc., Nine Records, Inc., Southfield

Music, Inc., and Eastbound Records, Inc.

        12. Defendant Bridgeport Music, Inc. is a Michigan corporation. Its principal

office is located in West Bloomfield, Michigan. Bridgeport is owned and operated by

Defendant Boladian who is the President, Director, and Treasurer.




    5
      BMI (Broadcast Music, Inc) and ASCAP (American Society of Composers,
    Authors and Publishers) are Performing Rights Organizations that represent
    songwriters, composers, and music publishers that collect performance royalties.

                                                 4
           Case 4:25-cv-00108-MW-MJF     Document 1     Filed 03/11/25   Page 5 of 51




       13. Defendant Westbound Records, Inc. is a Michigan corporation. Its principal

office is also located in West Bloomfield, Michigan. Westbound is owned and operated

by Defendant Boladian who is the President, Director, and Treasurer.

       14. Defendant Nine Records, Inc. is a Michigan corporation. Its principal office

is also located in West Bloomfield, Michigan. Nine Records is owned and operated by

Defendant Boladian who is the President, Director, and Treasurer.

       15. Defendant Southfield Music, Inc. is a Michigan corporation. Its principal

office is also located in West Bloomfield, Michigan. Southfield is owned and operated

by Defendant Armen Boladian who is the President, Director, and Treasurer.

       16. Defendant Eastbound Records, Inc. is a Michigan corporation. Its principal

office is located in West Bloomfield Michigan. Eastbound is owned and operated by

Defendant Armen Boladian who is the President, Director, and Treasurer.

                              JURISDICTION AND VENUE

       17. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000, exclusive of interest and costs, and

because Defendants are citizens of a state other than the state in which Plaintiff is a

citizen.

       18. The Court has original subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331 and 1338(a) in that this action concerns a federal question regarding

copyright law.


                                               5
            Case 4:25-cv-00108-MW-MJF      Document 1   Filed 03/11/25    Page 6 of 51




        19. This Court has specific personal jurisdiction over the Defendants because

Defendants committed and continue to commit tortious acts within the State of Florida

under Fla. Stat. Ann. § 48.193(1)(a)(2).

        20. This Court has supplemental jurisdiction under 28 U.S.C. §1367(a) over

Plaintiff’s state law claims because all claims alleged herein form part of the same case

or controversy.

        21. Further, Defendants have purposefully availed themselves of the privileges of

conducting activities within the State of Florida by transacting business within the State;

committing tortious acts within the State; committing the actions alleged in this lawsuit

directed at Clinton, an individual residing in the State; and deriving substantial revenue

from their deliberate course of conduct targeting the State of Florida. Defendants

continue these actions today. As such Defendants are subject to personal jurisdiction

here.

        22. Venue in this District is proper under 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claims alleged herein occurred in this

District.

                                FACTUAL ALLEGATIONS

                A. Clinton: Artist, Icon, Pioneer of Funk, and the Hip-Hop Godfather.

        23. Clinton is an iconic musician, singer, songwriter, record producer, and

bandleader, and is recognized as one of the foremost pioneers of Funk music.


                                               6
         Case 4:25-cv-00108-MW-MJF       Document 1    Filed 03/11/25   Page 7 of 51




      24. Clinton was inducted into the Rock and Roll Hall of Fame in 1997 and

awarded the GRAMMY’s Lifetime Achievement Award at the 2019 GRAMMY Salute

to Music Legends.

      25. As a testament to his musical genius, he is one of the most sampled artists in

music history (earning him the title of the Godfather of Hip-Hop). His works, including

but not limited to, “Atomic Dog,” “Flash Light,” “P.Funk (Wants to Get Funked Up),”

“The Motor Booty Affair,” “Aquaboogie,” “Give Up The Funk,” “Mothership

Connection,” “Sir Nose D'Voidoffunk” and “Big Bang Theory” have been heavily

sampled by artists across numerous musical genres.

      26. In 1968, recognizing social change and the growth of Rock and Roll, Clinton

created a new Black rock band known as “Funkadelic”.

      27. By the late 1970s, Clinton’s artistic genius and revolutionizing inspiration

earned him “superstar” status. He was releasing four to six albums per year through

major record labels, producing multiple side acts in addition to his two main acts,

Parliament and Funkadelic, all while touring nonstop at stadium capacity, with a wildly

elaborate stage production.

      28. In 1973, Clinton created a new act – “Parliament”, which was later combined

with Funkadelic in early 1975. The combination was hugely successful, releasing 3-4

albums per year with chart topping hits and touring nonstop to sold-out crowds at stadium

capacity with a large market of devoted fans.


                                                7
            Case 4:25-cv-00108-MW-MJF        Document 1     Filed 03/11/25   Page 8 of 51




                 B. Defendant Boladian Successfully Schemes to Defraud Clinton.

         29. According to information and belief, Defendant Boladian expressed his views

that Black artists lacked the education and intelligence to understand issues such as

copyright infringement and legal proceedings - accordingly, he felt emboldened and

entitled to defraud artists like Clinton.

         30. From 1968 through 1975, and 1981 through 1990, Boladian was Clinton’s

business partner, publishing administrator, financial consultant, and agent.

         31. Boladian formed Defendant Bridgeport Music, Inc., in 1969 “[t]o engage in

the business of publishing music.” 6

         32. Boladian further created entertainment companies Westbound in 1969 and

Nine Records, Southfield, and Eastbound in 1973.

         33. Boladian is the sole owner and proprietor of each of his entertainment

companies including Defendant Business Entities. As the President, Director, and

Treasurer, he functions as the sole decision maker for Bridgeport, Westbound, Nine

Records, Southfield, and Eastbound, including but not limited to day-to-day business

operations, matters of corporate governance and financial decisions.




     6
         As set forth in Bridgeport’s articles of incorporation.

                                                  8
           Case 4:25-cv-00108-MW-MJF       Document 1     Filed 03/11/25   Page 9 of 51




         34. Upon information and belief, the Defendant Business Entities are a “one-man”

operation, run solely by Armen Boladian. The Defendant Business Entities employ little

to no staff and have no assets other than copyrights. 7

         35. Boladian is known throughout the music industry as a “copyright troll8,”

meaning that he collects copyrights to various catalogs, holds on to the rights, then files

lawsuits to get money from producers and musicians who sample 9 the songs he looted

the rights to (despite how miniscule the sampling may be).

         36. As a copyright troll, Defendants did not need to employ any staff or serve any

function other than to assert copyright infringement claims for musical works that they

fraudulently acquired and to maintain their only assets which comprise this portfolio of

copyrighted musical works.

         37. After decades of employing his copyright scheme, Boladian has earned a

reputation for exploiting young, gifted artists by utilizing his industry knowledge to

financially benefit from the illegal sampling and distribution from the work of said artists.




     7
       Tim Wu, Jay-Z Versus the Sample Troll, Slate, November 16, 2006,
     https://slate.com/culture/2006/11/the-shady-one-man-corporation-that-s-
     destroying-hip-hop.html.
     8
       See Id. (“Similar to its cousins the patent trolls, Bridgeport and companies like it
     hold portfolios of old rights (sometimes accumulated in dubious fashion) and use
     lawsuits to extort money from successful music artists for routine sampling, no
     matter how minimal or unnoticeable…”)
     9
       Sampling is a technique in which an artist takes a piece of a song, and then alters,
     mutates, or distorts it to create a new song.

                                                9
          Case 4:25-cv-00108-MW-MJF      Document 1     Filed 03/11/25   Page 10 of 51




      38. Boladian has filed several lawsuits against artists based on their improper and

illegal sampling of Clinton’s music, including Clinton himself for sampling his own

work. For example, in Bridgeport Music, Inc. v. 11C Music, 202 F.R.D. 229 (M.D. Tenn.

2001), Bridgeport sued nearly 800 artist-defendants seeking monetary damages and other

relief for sampling Clinton’s music. Interestingly, Clinton, the rightful owner of said

catalog, has never been included as a plaintiff in these lawsuits nor has he received any

portion of the millions secured by Boladian.

      39. In addition to his sampling schemes, Boladian relied on a multitude of

deceptive plots to hoard royalties and steal masters from Clinton and other Black artists.

These stolen, intangible assets and copyrighted materials are Defendants only business

assets.

               C. Boladian Exceeds His Authority as An Agent of Clinton to
                  Fraudulently Acquire Rights to Clinton’s Catalog.

      40. Over the course of Clinton’s decades long relationship with Boladian,

Boladian acted in various roles including as publisher, publishing administrator, financial

consultant, and agent. In this capacity, Boladian had a duty to manage the copyrights to

Clinton’s catalog, register Clinton’s songs with the proper entities, and collect royalties

generated by Clinton’s songs—without retaining any ownership or control over the songs

he was administering on Clinton’s behalf. Defendants had a duty to collect royalties,

fees, and monies; provide an accurate accounting of such royalties; and pay Clinton his




                                               10
         Case 4:25-cv-00108-MW-MJF       Document 1     Filed 03/11/25    Page 11 of 51




rightful share of the royalties. Instead, Defendants have consistently withheld millions

of dollars in royalties, monies, and fees that are rightfully owned by Clinton.

       41. Defendants failed to properly act as Clinton’s agent by engaging in abusive,

deceptive, and fraudulent practices targeted at Clinton with the sole purpose of stealing

and misappropriating funds and assets from George Clinton and capitalizing on his

success. For instance, Boladian induced Clinton into signing blank and boiler plate

agreements under the false and repeated affirmative representations to Clinton that he

would handle those contractual agreements in accordance with Clinton’s business

interests.

       42. Boladian frequently exceeded his agent authority and used Clinton’s signature

on blank and boiler plate agreements to grant Defendants rights to Clinton’s catalog.

       43. Boladian frequently executed contracts regarding Clinton’s catalog with

record companies and other third parties on behalf of Clinton, without Clinton’s

knowledge, his explicit or implied consent, or any actual authority from Clinton.

       44. Long after Clinton ended his business relationship with Defendants, Boladian

continued to hold himself out as the publisher, administrator, and representative of

Clinton in front of record companies and other third parties and promised either through

contract or by common industry practice and standards to provide accounting, writer's

credit, mechanical royalties, songwriter’s royalties, and other royalties to Clinton.




                                               11
         Case 4:25-cv-00108-MW-MJF       Document 1    Filed 03/11/25   Page 12 of 51




      45. Upon information and belief, between 1982 and 1985, Defendants fabricated

multiple versions of an agreement assigning themselves, with each new version,

additional rights and shares of Clinton’s catalog.

      46. These fraudulent agreements increased Defendant’s shares in the royalties,

while diverting profits from the catalog to Defendants and decreasing Clinton’s assets

and profits.

      47. Boladian systematically and intentionally failed and fails to inform Clinton of

numerous contractual agreements which he has executed, ostensibly on Clinton’s behalf,

in excess of his authority and/ or without Clinton’s knowledge and consent, and for which

Defendants have been the wrongful recipients of royalty payments. Boladian never

provided Clinton with copies of any of such agreements.

      48. To date, despite demands for an accounting, Boladian has provided little to no

accounting of any royalties or sums he has collected that are rightfully owed to Clinton.

               D. Boladian Utilizes Fake Names and Pseudonyms to Further Defraud
                  Clinton.

      49. Boladian’ s fraudulent conduct also included creating and using fake names

and pseudonyms to fraudulently identify imaginary additional writers and owners on

copyright registrations of songs included in Clinton’s catalog.




                                              12
          Case 4:25-cv-00108-MW-MJF      Document 1        Filed 03/11/25   Page 13 of 51




      50. According to information and belief, Boladian has utilized the names “L.

Crane10” and “B. Blaine11” in the copyright registration. Neither L. Crane or B. Blaine

are actual individuals, and as such, could not possibly have any role in the creation of any

of Plaintiff’s songs.

      51. By ensuring that imaginary additional writers and owners were a part of the

copyright registration for songs in Clinton’s catalog, Defendants diluted Clinton’s shares

in his own writer’s credits, songwriter’s rights, and mechanical royalties.

      52. Boladian engaged in this fraudulent exercise of creating imaginary writers and

owners and adding them to the BMI and ASCAP song catalogs to dilute Clinton’s

songwriter’s royalty shares.

      53. In addition, Boladian would also pay third parties to claim ownership of

Plaintiff’s work to defraud Plaintiff of royalties derived from such works. For example,

Boladian paid Mark Bass to have him falsely claim “Anybody Get Funked Up” as his

own to Defraud Plaintiff of royalty shares in this song.



     10
        The pseudonym L. Crane has been used in copyright for Clinton songs, including
     but not limited to, “Call Jesus (Tear the Roof off the sucker)” (L. Crane (ASCAP
     affiliation) is mentioned as writer with a 20% share along with Clinton and other
     writers, “Caper for the Paper” (L. Crane (ASCAP) 15% share with Clinton and
     others), “JURNEEUVASTREETKRIMINO” (L. Crane 10% share (ASCAP) with
     Clinton and other writers), “Pimps N Macks” (L. Crane 12% share (ASCAP) with
     Clinton and others), and “Who Dat Single” (L. Crane 8% share (ASCAP) with
     Clinton and others).
     11
        Upon information and belief, the pseudonym, “B. Blaine” has been used by
     Defendant Boladian in copyright registrations and cite registrations.

                                               13
        Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 14 of 51




      54. Boladian regularly deflated or omitted the amount of royalties he was

receiving from Clinton’s catalog on formal documents and reports. These royalties

derived from direct online downloads, U.S. and international sales, sampling, and third-

party licensing.

      55. Throughout the years and through Boladian’s skillful manipulation, Clinton

was unaware of Boladian’s misconduct – which has continued into the present.

      56. Boladian not only failed to carry out his duties and act in Clinton’s best

interest, but affirmatively used his position and unfettered access to Clinton’s catalog to

defraud Clinton of his royalties and shares for his sole benefit.

               E. Defendants Fraudulent Use of Clinton’s Catalog Continues to this
                  Day.

      57. To this day, Clinton continues to become aware of misrepresentations and

omissions that Defendants continue to carry out with respect to his catalog.

      58. As Defendants actively concealed their wrongful conduct and continue to do

so, Clinton only became aware of above-referenced wrongful conduct wherein he would

happen to see songs from his catalog broadcasted on television; integrated into movies,

television series, or other form of televised or broadcasted shows; sampled into a song or

musical creation; or streamed on a digital platform without his knowledge, consent, or

authority. For example, “Give Up the Funk (Tear the Roof off the Sucker)” used as part

of the on-ride soundtrack for Guardians of the Galaxy – Mission: BREAKOUT! At

Disney California Adventure; “Atomic Dog” was sampled in “Digga Digga Dog” in 102

                                               14
         Case 4:25-cv-00108-MW-MJF         Document 1     Filed 03/11/25    Page 15 of 51




Dalmatians movie; “Give Up The Funk” (Tear the Roof Off) used as a track in The Purge:

Election Year; and advertisements for Apple and WhatsApp just to name a few.

      59. Defendants were and continue to collect licensing fees, royalties, and monies

from said unauthorized usage of his catalog without his consent or authorization.

      60. Clinton has served numerous notices and demands (as recently as December

of 2023) to Defendants for all BMI and ASCAP accounting reports and payment of all

royalties and monies owed to him and rightfully owned by him to no avail.

      61. Defendants have, as described in the preceding paragraphs, engaged in illegal

and wrongful conduct in the execution of improper contracts ostensibly on Clinton’s

behalf, the wrongful securing, retention and use of royalties to which Clinton would have

been entitled as it relates to the songs included in his catalog as identified in the chart:

     PUBLICATION           ARTIST      ALBUM TITLE                         SONG TITLE
         1967                 The       I wanna Testify                    Good Old Music
                          Parliaments
            1970          Funkadelic       Funkadelic                  Music for My Mother
            1970          Funkadelic       Funkadelic                   Qualify and Satisfy
            1970          Funkadelic       Funkadelic                      What is Soul
            1970          Funkadelic       Funkadelic                  As Good as I Can Feel
            1970          Funkadelic Free your Mind…And                    Some More
                                      Your Ass Will Follow

            1970          Funkadelic          Funkadelic           Mommy, What's a Funkadelic
            1970          Funkadelic          Funkadelic               Good Old Music
            1970          Funkadelic          Funkadelic             Music for My Mother
            1970          Funkadelic          Funkadelic             Music for My Mother
                                                                        (instrumental)




                                                15
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25   Page 16 of 51




  1970        Funkadelic Free your Mind…And Free Your Mind and Your Ass
                         Your Ass Will Follow       Will Follow
  1970        Funkadelic Free your Mind…And      Friday Night, August 14th
                         Your Ass Will Follow
  1970        Funkadelic Free your Mind…And          Funky Dollar Bill
                         Your Ass Will Follow
  1970        Funkadelic Free your Mind…And        Fish, Chips and Sweat
                         Your Ass Will Follow
  1970        Funkadelic Free your Mind…And I Wanna Know If It's Good to
                         Your Ass Will Follow                You
  1970        Funkadelic Free your Mind…And I Wanna Know If It's Good to
                         Your Ass Will Follow You (bonus track on re-issue)
  1970        Funkadelic Free your Mind…And I Wanna Know If It's Good to
                         Your Ass Will Follow        You (instrumental)
  1970        Parliament        Osmium        There Is Nothing Before Me But
                                                            Thang
  1971        Funkadelic     Maggot Brain     You and Your Folks, Me and My
                                                            Folks
  1971        Funkadelic     Maggot Brain          Wars of Armageddon
  1971        Funkadelic     Maggot Brain           Can You Get to That
  1971        Funkadelic     Maggot Brain             Hit It and Quit It
  1971        Funkadelic     Maggot Brain              Maggot Brain
  1971        Funkadelic     Maggot Brain               Super Stupid
  1972        Funkadelic    America Eats Its              Wake Up
                                Young
  1972        Funkadelic    America Eats Its    You Hit the Nail on the Head
                                Young
  1972        Funkadelic    America Eats Its                Pussy
                                Young
  1972        Funkadelic    America Eats Its      America Eats Its Young
                                Young
  1972        Funkadelic    America Eats Its   If You Don't Like the Effects,
                                Young             Don't Produce the Cause
  1972        Funkadelic    America Eats Its   Everybody Is Going to Make It
                                Young                    This Time
  1972        Funkadelic    America Eats Its          A Joyful Process
                                Young


                                16
Case 4:25-cv-00108-MW-MJF    Document 1     Filed 03/11/25     Page 17 of 51




  1972        Funkadelic      America Eats Its                 Loose Booty
                                 Young
  1972        Funkadelic      America Eats Its          Biological Speculation
                                 Young
  1972        Funkadelic      America Eats Its               That Was My Girl
                                 Young
  1972        Funkadelic      America Eats Its                   Balance
                                 Young
  1972        Funkadelic      America Eats Its           Miss Lucifer's Love
                                 Young
  1973        Funkadelic       Cosmic Slop                Nappy Dugout
  1973        Funkadelic       Cosmic Slop         You Can't Miss What You Can't
                                                              Measure
  1973        Funkadelic        Cosmic Slop                 Cosmic Slop
  1973        Funkadelic        Cosmic Slop                 No Compute
  1973        Funkadelic        Cosmic Slop            Can't Stand the Strain
  1973        Funkadelic        Cosmic Slop         March to the Witch's Castle
  1973        Funkadelic        Cosmic Slop               Trash A-Go-Go
  1973        Funkadelic        Cosmic Slop             Let's Make It Last
  1974        Parliament       Up for the down        Up for the Down Stroke
                                    stroke
  1974        Parliament       Up for the down           I Can Move You
                                    stroke
  1974        Parliament       Up for the down          Presence of a Brain
                                    stroke
  1974        Parliament       Up for the down      All Your Goodies Are Gone
                                    stroke
  1974        Funkadelic    Standing on the Verge      Alice in My Fantasies
                               of Getting It On
  1974        Funkadelic    Standing on the Verge             I'll Stay
                               of Getting It On
  1974        Funkadelic    Standing on the Verge           Sexy Ways
                               of Getting It On
  1974        Funkadelic    Standing on the Verge Standing on the Verge of Getting
                               of Getting It On                 It On
  1974        Funkadelic    Standing on the Verge Jimmy's Got a Little Bit of Bitch
                               of Getting It On                in Him



                                  17
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25   Page 18 of 51




  1974        Funkadelic Standing on the Verge Good Thoughts, Bad Thoughts
                            of Getting It On
  1974        Parliament    Up for the down               The Goose
                                 stroke
  1974        Parliament    Up for the down Whatever Makes Baby Feel Good
                                 stroke
  1975        Parliament    Chocolate City              Chocolate City
  1975        Parliament    Chocolate City                  Ride On
  1975        Parliament    Chocolate City                  Together
  1975        Parliament      Mothership      Supergroovalisticprosifunksticati
                              Connection                       on
  1975        Funkadelic Let's Take It to the            Be My Beach
                                 Stage
  1975        Funkadelic Let's Take It to the      Let's Take It to the Stage
                                 Stage
  1975        Funkadelic Let's Take It to the         The Song Is Familiar
                                 Stage
  1975        Parliament    Chocolate City                Side Effects
  1975        Parliament      Mothership      P.Funk (Wants to get Funked Up)
                              Connection
  1975        Parliament      Mothership                   Handcuffs
                              Connection
  1975        Funkadelic Let's Take It to the       Good To Your Earhole
                                 Stage
  1975        Funkadelic Let's Take It to the             Atmosphere
                                 Stage
  1975        Parliament    Chocolate City            What Comes Funky
  1975        Parliament    Chocolate City      If It Don't Fit (Don't Force It)
  1975        Parliament      Mothership        Mothership Connection (star
                              Connection                     Child )
  1975        Parliament      Mothership                 Unfunky UFO
                              Connection
  1975        Parliament      Mothership         Night of The Thumpasorous
                              Connection                    Peoples
  1975        Parliament      Mothership         Give Up The Funk (Tear the
                              Connection                Roof Off Sucker
  1975        Parliament    Chocolate City                 Let Me Be



                                 18
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25   Page 19 of 51




  1975        Funkadelic    Let's Take It to the       Better By The Pound
                                   Stage
  1975        Funkadelic    Let's Take It to the   No Head No Backstage Pass
                                   Stage
  1975        Funkadelic    Let's Take It to the        Stuffs And Things
                                   Stage
  1975        Funkadelic    Let's Take It to the    Get Off Your Ass And Jam
                                   Stage
  1975        Funkadelic    Let's Take It to the   Baby I Owe You Something
                                   Stage                        Good
  1975        Parliament     Chocolate City                 Big Footin'
  1976        Funkadelic      Tales of Kidd      Take Your Dead Ass Home! (Say
                                Funkadelic                 Som'n Nasty)
  1976        Funkadelic     Hardcore Jollies    If You Got Funk, You Got Style
  1976        Funkadelic     Hardcore Jollies            Adolescent Funk
  1976        Parliament    The Clones Of Dr.             Do That Stuff
                               Funkenstein
  1976        Parliament    The Clones Of Dr. I've Been Watching you (Move
                               Funkenstein               your Sexy Body)
  1976        Parliament    The Clones Of Dr.            Funkin' For Fun
                               Funkenstein
  1976        Funkadelic      Tales of Kidd               Undisco Kidd
                                Funkadelic
  1976        Funkadelic      Tales of Kidd         How Do Yeaw View You?
                                Funkadelic
  1976        Funkadelic     Hardcore Jollies      Comin' Round The Mountain
  1976        Funkadelic     Hardcore Jollies                 Smokey
  1976        Funkadelic     Hardcore Jollies            Hardcore Jollies
  1976        Funkadelic     Hardcore Jollies                Soul Mate
  1976        Funkadelic     Hardcore Jollies              Cosmic Slop
  1976        Funkadelic     Hardcore Jollies    You Scared The Lovin' Outta Me
  1976        Parliament    The Clones Of Dr.                  Prelude
                               Funkenstein
  1976        Parliament    The Clones Of Dr.          Gettin' To Know You
                               Funkenstein
  1976        Funkadelic      Tales of Kidd          I'm Never Gonna Tell It
                                Funkadelic



                                19
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25     Page 20 of 51




  1976        Funkadelic      Tales of Kidd        Tales of Kidd Funkadelic
                               Funkadelic             (Opusdelite Years)
  1976        Parliament    The Clones Of Dr.           Dr.Funkenstein
                               Funkenstein
  1976        Parliament    The Clones Of Dr.       Children Of Productions
                               Funkenstein
  1976        Funkadelic      Tales of Kidd        Butt-to-Butt Resuscitation
                               Funkadelic
  1976        Funkadelic      Tales of Kidd        Let's Take It to the People
                               Funkadelic
  1976        Parliament    The Clones Of Dr.       Everything is on the One
                               Funkenstein
  1976        Parliament    The Clones Of Dr.               Gamin' On Ya
                               Funkenstein
  1977       Eddie Hazel     Game, Dames &                 Frantic Moment
                              Guitar Thangs
  1977       Eddie Hazel     Game, Dames &                So Goes The Story
                              Guitar Thangs
  1977        Parliament    Live/P.Funk Earth          Dr.Funkenstein's
                                  Tour          Supergroovalisticprosifunksticati
                                                          on Medley
  1977       Fred Wesley A Blow For Me, A          Up For The Down Stroke
             & The Horny     Toot To You
                Horns
  1977        Parliament  Live/P.Funk Earth  P.Funk (Wants To Get Funked
                                 Tour                     Up)
  1977        Parliament  Live/P.Funk Earth          Do that Stuff
                                 Tour
  1977        Parliament  Live/P.Funk Earth  The Undisco KIdd ( The girl is
                                 Tour                     Bad)
  1977        Parliament    Funkentelechy         Wizard of Finance
                         Vs.Placebo Syndrome
  1977        Parliament  Live/P.Funk Earth   Mothership Connection (Star
                                 Tour                    Child)
  1977        Parliament  Live/P.Funk Earth    Night of the Thumpasorus
                                 Tour                   Peoples
  1977        Parliament  Live/P.Funk Earth   Tear the roof off the sucker
                                 Tour                   Medley


                                20
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25   Page 21 of 51




  1977        Parliament    Funkentelechy        The Placebo Sydrome
                         Vs.Placebo Syndrome
  1977        Parliament  Live/P.Funk Earth  This is the way we Funk With
                                 Tour                      You
  1977        Parliament  Live/P.Funk Earth The Landing (Of the Mothership)
                                 Tour
  1977       Fred Wesley A Blow For Me, A A Blow For Me, A Toot To You
             & The Horny     Toot To You
                Horns
  1977        Parliament  Live/P.Funk Earth       Fantasy Is A Reality
                                 Tour
  1977          Bootsy    Ahh...The Name Is        Preview Side Too
                            Bootsy, Baby!
  1977          Bootsy    Ahh...The Name Is    Munchies For Your Love
                            Bootsy, Baby!
  1977          Bootsy    Ahh...The Name Is          Rubber Duckie
                            Bootsy, Baby!
  1977          Bootsy    Ahh...The Name Is    What's A Telephone Bill?
                            Bootsy, Baby!
  1977       Fred Wesley A Blow For Me, A        Between Two Sheets
             & The Horny     Toot To You
                Horns
  1977          Bootsy    Ahh...The Name Is   Ahh...The Name Is Bootsy,
                            Bootsy, Baby!                 Baby!
  1977          Bootsy    Ahh...The Name Is    Reprise: We Want Bootsy
                            Bootsy, Baby!
  1977          Bootsy    Ahh...The Name Is      The Pinocchio Theory
                            Bootsy, Baby!
  1977          Bootsy    Ahh...The Name Is         Can't Stay Away
                            Bootsy, Baby!
  1977       Eddie Hazel   Game, Dames &             What About It?
                            Guitar Thangs
  1977       Fred Wesley A Blow For Me, A               Four Play
             & The Horny     Toot To You
                Horns
  1977        Parliament    Funkentelechy    Bop Gun (Endangered Species)
                         Vs.Placebo Syndrome



                                21
Case 4:25-cv-00108-MW-MJF    Document 1    Filed 03/11/25   Page 22 of 51




  1977        Parliament        Funkentelechy             Flash Light
                            Vs.Placebo Syndrome
  1977        Parliament      Live/P.Funk Earth    Children of Productions
                                    Tour
  1977        Parliament      Live/P.Funk Earth         Dr.Funkenstein
                                    Tour
  1977        Parliament      Live/P.Funk Earth  Swing Down, Sweet Chariot
                                    Tour
  1977        Parliament      Live/P.Funk Earth         Gamin' on Ya!
                                    Tour
  1977        Parliament        Funkentelechy           Funkentelechy
                            Vs.Placebo Syndrome
  1977        Parliament        Funkentelechy    Sir Nose D'Voidoffunk (Pay
                            Vs.Placebo Syndrome            Attention)
  1978        Parliament     Motor-Booty Affair (You're a Fish and I'm a) Water
                                                             Sign
  1978        Parliament     Motor-Booty Affair      Motor-Booty Affair
  1978        Parliament     Motor-Booty Affair              Deep
  1978          Bernie       All The Woo In The         Woo Together
               Worrell              World
  1978         Brides of        Funk or Walk                 Birdie
             Funkenstein
  1978         Brides of   Funk or Walk                Nappy
             Funkenstein
  1978       Funkadelic One Nation Under A        Groovallegiance
                              Groove
  1978       Funkadelic One Nation Under A Who Says A Funk Band Can't
                              Groove                 Play Rock?
  1978       Funkadelic One Nation Under A Promentals**tbackwashpsychosis
                              Groove          Enema Squad (The Doodoo
                                                      Chasers)
  1978       Funkadelic One Nation Under A            Into You
                              Groove
  1978       Funkadelic One Nation Under A Cholly (Funk Getting Ready To
                              Groove                    Roll)
  1978          Parlet   Pleasure Principle      Are You Dreaming?
  1978         Brides of   Funk or Walk          War Ship Touchante
             Funkenstein


                                  22
Case 4:25-cv-00108-MW-MJF    Document 1   Filed 03/11/25     Page 23 of 51




  1978        Funkadelic    One Nation Under A     P.E. Squad/Doodoo Chasers
                                  Groove            (''going All The Way Off'')
  1978          Parlet       Pleasure Principle          Pleasure Principle
  1978          Parlet       Pleasure Principle          Misunderstanding
  1978        Parliament    Motor-Booty Affair            Liquid sunshine
  1978        Funkadelic    One Nation Under A     Lunchmeataphobia (Think It
                                  Groove                  Ain't Illegal Yet)
  1978        Funkadelic    One Nation Under A          Maggot Brain - Live
                                  Groove
  1978        Parliament    Motor-Booty Affair                Mr.Wiggles
  1978         Brides of       Funk or Walk                  Just Like You
             Funkenstein
  1978        Parliament Motor-Booty Affair        One of those Funky Thangs
  1978          Parlet    Pleasure Principle             Love Amnesia
  1978          Bernie   All The Woo In The               Much Thrust
               Worrell         World
  1978          Bernie   All The Woo In The           Reprise: Much Thrust
               Worrell         World
  1978          Bernie   All The Woo In The                    Hold On
               Worrell         World
  1978          Bootsy    Bootsy? Player Of                   Roto-Rooter
                              The Year
  1978          Bootsy    Bootsy? Player Of                As In (I Love You)
                              The Year
  1978          Bootsy    Bootsy? Player Of       May The Force Be With You
                              The Year
  1978          Bootsy    Bootsy? Player Of                    Very Yes
                              The Year
  1978          Bootsy    Bootsy? Player Of            Hollywood Squares
                              The Year
  1978          Bootsy    Bootsy? Player Of                    Bootzilla
                              The Year
  1978        Parliament Motor-Booty Affair           Aqua Boogie (A
                                               Psychoalphadiscobetabioaquadol
                                                            op)
  1978        Parliament    Motor-Booty Affair        Rumpofsteelskin
  1978         Brides of      Funk or Walk              Disco To Go
             Funkenstein


                                 23
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25   Page 24 of 51




  1978          Bernie    All The Woo In The Happy To Have (Happiness On
               Worrell           World                     Our Side)
  1978          Bernie    All The Woo In The     Insurance Man For The Funk
               Worrell           World
  1979        Funkadelic Uncle Jam Wants You               Uncle Jam
  1979          Parlet   Invasion of the booty    Don't Ever Stop (Lovin' Me,
                                snatchers                 Needin' Me)
  1979          Parlet   Invasion of the booty          Booty Snatchers
                                snatchers
  1979       Fred Wesley Say Blow By Blow                Just Like You
             & The Horny       Backwards
                Horns
  1979        Funkadelic Uncle Jam Wants You Holly Wants To Go To California
  1979        Funkadelic Uncle Jam Wants You Foot Soldiers (Star Spangled
                                                             Funky)
  1979        Funkadelic Uncle Jam Wants You         (Not Just) Knee Deep
  1979          Parlet   Invasion of the booty           You're Leaving
                                snatchers
  1979         Brides of   Never Buy Texas              Party Up In Here
             Funkenstein   From A Cowboy
  1979         Brides of   Never Buy Texas         Never Buy Texas From A
             Funkenstein   From A Cowboy                    Cowboy
  1979          Bootsy    This Boot Is Made        Under The Influence Of A
                              For Fonk-n                     Groove
  1979          Bootsy    This Boot Is Made              Jam Fan (Hot)
                              For Fonk-n
  1979          Bootsy    This Boot Is Made             Bootsy Get Live
                              For Fonk-n
  1979         Brides of   Never Buy Texas               Smoke Signals
             Funkenstein   From A Cowboy
  1979         Brides of   Never Buy Texas       I'm Holding You Responsible
             Funkenstein   From A Cowboy
  1979        Parliament   Gloryhallastoopid       Pin the Tail on The Funky
                         (or,Pin the Tail of the
                                 Funky)
  1979          Parlet   Invasion of the booty        No Rump To Bump
                                snatchers



                                24
Case 4:25-cv-00108-MW-MJF   Document 1   Filed 03/11/25   Page 25 of 51




  1980         Philippe    Wynne Jammin'              Never Gonna Tell It
                Wynne
  1981        Funkadelic The Electric Spanking           Electro-Cuties
                            Of War Babies
  1981        Funkadelic The Electric Spanking Electric Spanking Of War Babies
                            Of War Babies
  1981        Funkadelic The Electric Spanking                Oh I
                            Of War Babies
  1981        Funkadelic The Electric Spanking Funk Gets Stronger (Part 1)
                            Of War Babies
  1981        Funkadelic The Electric Spanking Medley: She Loves You / Funk
                            Of War Babies        Gets Stronger (Kml Version)
  1981        Funkadelic The Electric Spanking             Icka Prick
                            Of War Babies
  1983        P Funk All  Urban Dancefloor              Hydraulic Pump
                 Stars         Guerillas
  1983        P Funk All  Urban Dancefloor              Catch A Keeper
                 Stars         Guerillas
  1983        P Funk All  Urban Dancefloor         One Of Those Summers
                 Stars         Guerillas
  1983        P Funk All  Urban Dancefloor                Acupuncture
                 Stars         Guerillas
  1985          George     Some of My Best       Some of My Best Jokes Are
                Clinton   Jokes Are Friends                 Friends
  1985          George     Some of My Best                Bullet Proof
                Clinton   Jokes Are Friends
  1985          George     Some of My Best                 Bodyguard
                Clinton   Jokes Are Friends
  1985          George     Some of My Best      Pleasures Of Exhaustion (Do It
                Clinton   Jokes Are Friends               Till I Drop)
  1985          George     Some of My Best               Double Oh-Oh
                Clinton   Jokes Are Friends




                                25
         Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 26 of 51




               F. Clinton Seeks to Regain Control Over His Catalog Through
                  Sections 203 and 304(c) of the Copyright Act

      62. Clinton has sought to regain control over his catalog by filing termination

notices with the U.S. Copyright Office to terminate the fraudulent grants, transfers,

licenses, and assignments that Defendants have garnered over Clinton’s catalog.

      63. Clinton relied on 17 U.S.C. §§203 and 304(c) of the Copyright Act of 1976 to

effectuate valid and enforceable termination notices upon Defendants.

      64. Under Section 203, an author may terminate any rights that were granted on

or after January 1, 1978 within five years beginning at the end of a thirty-five year period

from the date of the grant. Further, 17 U.S.C. §203(b) states that upon the effective date

of termination, “all rights under this title that were covered by the terminated grants revert

to the author[.]”

      65. Under 17 U.S.C. §304(c)(3), an author may terminate any rights that were

granted before January 1, 1978 “at any time during a period of five years beginning at the

end of fifty-six years from the date copyright was originally secured, or beginning on

January 1, 1978, whichever is later.”

      66. Clinton has filed valid and timely termination notices, see Exhibits A, B, and

C, on Defendants and recorded those notices with the U.S. Copyright Office in

accordance with the Copyright Act.




                                                26
          Case 4:25-cv-00108-MW-MJF      Document 1     Filed 03/11/25    Page 27 of 51




      67. Despite the validity and timeliness of these notices, Defendants frequently

ignored Clinton’s notices or failed to provide objections that would not obviate the

validity of Clinton’s termination notices under Sections 203 and 304(c).

      68. Defendants recognized the notices and timely relinquished the rights to

“Atomic Dog.” Defendants refuse to relinquish with respect to any of the other songs

Clinton authored, which were included in the same notices.

                                     CAUSES OF ACTION

                          FIRST CAUSE OF ACTION
                   DECLARATORY RELIEF UNDER 17 U.S.C. §203
                             Against all Defendants

      69. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      70. Copyright termination rights are available under 17 U.S.C. §203.

      71. Section 203 allows authors to terminate “the exclusive or nonexclusive grant

of a transfer or license of copyright or of any right under a copyright, executed by the

author on or after January 1, 1978[.]”

      72. Under 17 U.S.C. §203, Plaintiff could terminate any rights that were granted

on or after January 1, 1978 within five years beginning at the end of a thirty-five year

period from the date of the grant.

      73. This termination right is available for any work not considered a work made

for hire. As defined in 17 U.S.C. §101, a “work made for hire” is (1) “a work prepared



                                              27
         Case 4:25-cv-00108-MW-MJF         Document 1     Filed 03/11/25    Page 28 of 51




by an employee within the scope of his or her employment” or (2) “a work specially

ordered or commissioned for use as a contribution to a collective work, as a part of a

motion picture or other audiovisual work, as a translation, as a supplementary work, as a

compilation, as answer material for a test, or as an atlas, if the parties expressly agree in

a written instrument signed by them that the work shall be considered a work made for

hire.” For the purpose of the foregoing sentence, a “supplementary work” is a work

prepared for publication as a secondary adjunct to a work by another author for the

purpose of introducing, concluding, illustrating, explaining, revising, commenting upon,

or assisting in the use of the other work, such as forewords, afterwords, pictorial

illustrations, maps, charts, tables, editorial notes, musical arrangements, answer material

for tests, bibliographies, appendixes, and indexes, and an “instructional text” is a literary,

pictorial, or graphic work prepared for publication and with the purpose of use in

systematic instructional activities.

      74. Further, under 17 U.S.C. §203(b), “[u]pon the effective date of termination,

all rights under this title that were covered by the terminated grants revert to the author[.]”

      75. Plaintiff is entitled to copyright termination rights.

      76. Plaintiff is not and has never been an employee of any of the Defendants.

      77. Plaintiff never entered into any employment agreement with any of the

Defendants nor has Plaintiff received any employment benefits typically conferred upon

employees.


                                                28
          Case 4:25-cv-00108-MW-MJF      Document 1     Filed 03/11/25    Page 29 of 51




      78. Plaintiff never signed a work for hire agreement with any of the Defendants,

nor did he sign any employment agreements with any of them.

      79. Plaintiff created, recorded, and published his catalog through his own

companies and through Defendants deception and willful acts lost rights to his own

musical works.

      80. Plaintiff filed timely, valid, and enforceable termination notices under Section

203 of the copyright acts that would revert the rights back to Plaintiff when the

termination dates become due. See Exhibit A.

      81. Yet, Defendants continue to ignore Clinton’s statutory rights, and continue to

exploit his catalog, steal his royalty, and refuse their legal obligations to surrender his

rights in his work.

      82. Plaintiff seeks to have this Court enter a declaratory judgement that Plaintiff’s

termination notices are valid and that the copyrights automatically revert to Plaintiff on

the corresponding termination date of each copyright work.

                              SECOND CAUSE OF ACTION
                      DECLARATORY RELIEF UNDER 17 U.S.C. §304
                                Against all Defendants

      83. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      84. Under 17 U.S.C. §304(c)(3), an author may terminate any rights that were

granted before January 1, 1978 “at any time during a period of five years beginning at the



                                              29
          Case 4:25-cv-00108-MW-MJF      Document 1     Filed 03/11/25    Page 30 of 51




end of fifty-six years from the date copyright was originally secured, or beginning on

January 1, 1978, whichever is later.”

      85. Plaintiff’s termination notices are valid and enforceable.

      86. Plaintiff’s timely and valid termination notices were served and recorded with

the U.S. Copyright Office as required by the Copyright Act. See Exhibit B.

      87. Plaintiff timely filed and served notice to Defendants to terminate the

fraudulent grants, transfers, licenses, and assignments that Defendants have garnered over

Plaintiff’s catalog.

      88. Defendants chose to ignore or failed to properly respond to Plaintiff's timely

and valid termination notices.

      89. Plaintiff seeks to have this Court enter a declaratory judgement that Plaintiff’s

termination notices are valid and that the copyrights automatically revert to Plaintiff on

the corresponding termination date of each copyright work.

                           THIRD CAUSE OF ACTION
                       COPYRIGHT INFRINGEMENT CLAIMS
                              Against all Defendants

      90. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      91. Under 17 U.S.C. §501, infringement of copyright occurs when someone

“violates any of the exclusive rights of the copyright owner.”




                                              30
        Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 31 of 51




      92. Pursuant to 17 U.S.C. §106, copyright owners have the exclusive rights to

reproduce, prepare derivative works based upon, distribute copies of, and publicly

perform their copyrighted works.

      93. Defendants have intentionally precluded Plaintiff from enjoying any of his

exclusive rights.

      94. As of each effective termination date included in Plaintiff’s timely and valid

termination notices, the copyright in each noticed work automatically returns to Plaintiff.

      95. As of the effective termination dates for each song included in Exhibit C,

rights to each single noticed by Plaintiff would automatically revert back to Plaintiff.

      96. Despite the valid and automatic reversion of copyrights to Plaintiff,

Defendants continue to claim ownership of singles noticed by Plaintiff well beyond the

effective termination dates referenced in each notice.

      97. By purposefully exercising control of Plaintiff’s §106 exclusive rights,

Defendants are knowingly and willfully committing copyright infringement.

      98. As additional effective termination dates come to pass, Plaintiff’s claims for

copyright infringement only expand.

      99. As a result, Plaintiff seeks actual damages, or in the alternative statutory

damages for willful copyright infringement.




                                              31
          Case 4:25-cv-00108-MW-MJF       Document 1      Filed 03/11/25   Page 32 of 51




                                FOURTH CAUSE OF ACTION
                                     CONVERSION
                                   Against All Defendants

      100. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      101. Plaintiff brings this claim for conversion against each and every Defendant

based on Defendants’ wrongful deprivation of royalty payments owed to Clinton for the

use of his music.

      102. Defendants, through the fabrication of agreements, granted themselves rights

to Plaintiff’s intellectual properties and began collecting royalties, and continue to do so

to this day, including but not limited to, publisher and mechanical royalties and licensing

fees that were and are duly owed to Plaintiff.

      103. Defendants publicly held themselves out as Plaintiff’s publishers and agents

having certain rights to Plaintiff’s intellectual properties, executing contracts with

entertainment companies and other third parties without Plaintiff’s knowledge or

approval.

      104. Defendants lacked any actual or implied authority, granted by Plaintiff or

otherwise, to collect and keep royalties, licensing fees, and other monies that are

rightfully owed to Plaintiff.

      105. Defendants, from as early as the 1980s, began collecting monies and royalties

for Plaintiff’s intellectual property that are rightfully owned by Plaintiff.


                                                 32
          Case 4:25-cv-00108-MW-MJF       Document 1      Filed 03/11/25    Page 33 of 51




      106. To this day, Defendants still collect and deprive Plaintiff of royalties, monies

and other fees that are rightfully owed to Plaintiff for intellectual property works created

by Plaintiff.

      107. Defendants seized and converted millions of dollars in royalties, licensing

fees, and other monies that were and are immediately owed to Plaintiff for his intellectual

property works.

      108. As a direct and proximate result of Defendants’ seizure and conversion of

millions of dollars owed to Plaintiff, Plaintiff has suffered and continues to suffer loss in

the form of lost profits, royalties, licensing fees, and other monies rightfully owed to him

and seeks damages, interest, costs, and all other relief the Court deems just and proper.

      109. Further, due to Defendants’ seizure and conversion of Plaintiff’s royalties,

licensing fees, and other monies with complete disregard to Plaintiff's rights, Plaintiff

seeks punitive damages available under Florida law.

                              FIFTH OF CAUSE OF ACTION
                                     CIVIL THEFT
                                  Against All Defendants

      110. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      111. Plaintiff asserts this claim for civil theft pursuant to Fla. Stat. § 772.11 against

all Defendants based upon their knowledge and intent to permanently deprive Clinton of

his royalty payments rightfully owned by Clinton for his catalog.


                                                33
         Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 34 of 51




       112. Defendants, through the fabrication of agreements and other licenses, granted

itself rights to Plaintiff’s intellectual properties and began collecting royalties, including

but not limited to, publisher and mechanical royalties and licensing fees that were and are

duly owed to Plaintiff.

       113. Defendants publicly held themselves out as Plaintiff’s publishers and agents

having certain rights to Plaintiff’s intellectual properties, signing deals and agreements

with music producers and third parties without Plaintiff’s knowledge or approval.

       114. Defendants lacked any actual authority, granted by Plaintiff or otherwise, to

collect and keep royalties, licensing fees, and other monies that are rightfully owed to

Plaintiff.

       115. Defendants knowingly and with the intent to permanently deprive Plaintiff of

royalties and monies that are rightfully his, engaged in the unauthorized use of his music

and intellectual property to gain royalties, monies, and other fees and capitalized on this

unauthorized use.

       116. Defendants, starting as early as 1980, began stealing these monies and

royalties relating to Plaintiff’s intellectual property works that are rightfully owned by

Plaintiff.

       117. Defendants, to this day, are still stealing and depriving Plaintiff royalties,

monies and other fees that are rightfully owed to Plaintiff for intellectual property work

created by Plaintiff.


                                                34
          Case 4:25-cv-00108-MW-MJF       Document 1     Filed 03/11/25   Page 35 of 51




      118. Defendants seized and converted, with the intent to permanently deprive

millions of dollars in royalties, licensing fees, and other monies that were and are

immediately owed to Plaintiff for his intellectual property work.

      119. As a direct and proximate cause of Defendants’ improper collection and theft

of Plaintiff’s publishing and mechanical royalties, licensing fees, and other monies

immediately owned by and owed to the Plaintiff, Plaintiff has suffered damages in the

form of lost profits, publishing and mechanical royalties, licensing fees, and other monies

rightfully owed to Plaintiff and seeks treble damages, interest, reasonable attorney’s fees,

and costs, and all other relief the Court deems just and proper pursuant to Fla. Stat. §

772.11.

                                SIXTH CAUSE OF ACTION
                                          FRAUD
                                   Against All Defendants

      120. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      121. Defendants knowingly and intentionally lied and misrepresented to Plaintiff,

and continue to lie and misrepresent, the amount and nature of the agreements that

Defendants have entered into on behalf of Plaintiff and the amount of royalties and

monies they are collecting on his behalf with the intent to hide and conceal from Plaintiff

millions of dollars in revenue that Plaintiff is rightfully owed.




                                               35
         Case 4:25-cv-00108-MW-MJF        Document 1     Filed 03/11/25    Page 36 of 51




      122. Defendants intentionally lied, misrepresented, and deceived Plaintiff through

acts and omissions related to managing and handling of Plaintiff’s catalog, including but

not limited to, royalties, other monies, and profits from agreements that Defendants

continue to enter into on behalf of Plaintiff absent Plaintiff’s knowledge or authority.

      123. To this day, Defendants through deceptive practices and acts and omissions,

still engage in unauthorized agreements and still collect and deprive Plaintiff of royalties,

licensing fees, monies, and other fees that are rightfully owed to Plaintiff for intellectual

property work created by Plaintiff.

      124. Defendants’ misrepresentation and deceit spans decades, where Defendants,

through willful acts and omissions, created and still create schemes relating to Plaintiff’s

rightful ownership of his intellectual property work, royalties, and other monies and fees.

      125. Defendants have frequently lied and omitted—and continue to lie and omit—

the nature and number of agreements they have entered into on behalf of Plaintiff,

accurate accounting of profits, and royalties and monies collected on behalf of Plaintiff

for Plaintiff’s intellectual property works.

      126. Plaintiff reasonably relied to his detriment on the integrity of Defendants and

their misrepresentations that they were managing and administering his intellectual

property to his detriment.

      127. To this day, Plaintiff is still uncovering new misrepresentations and omissions

that Defendants continue to carry out regarding Plaintiff’s intellectual property.


                                               36
          Case 4:25-cv-00108-MW-MJF          Document 1   Filed 03/11/25   Page 37 of 51




      128. As a direct and proximate result of Defendants participation in conspiracies,

schemes, fraud, deceit and tortuous failure to disclose, Plaintiff suffered and continues to

suffer injuries and damages in excess of millions of dollars due to Defendants’

misrepresentations, for which Defendants are liable.

      129. Plaintiff seeks all damages, interest, costs, and all other relief the Court deems

just and proper.

                              SEVENTH CAUSE OF ACTION
                                CONSTRUCTIVE FRAUD
                                 Against All Defendants

      130. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      131. Defendants knowingly and intentionally lied and misrepresented to Plaintiff,

and continue to do so, the nature of all agreements that Defendants have entered on behalf

of Plaintiff and the amount of royalties and monies Defendants are collecting on

Plaintiff’s behalf with the intent to hide and conceal from Plaintiff millions of dollars in

revenue that Plaintiff is rightfully owed.

      132. Over the decades, Defendant Boladian acted as Plaintiff’s publisher, and

administrator and continue to hold himself as a person authorized to sign deals and

agreements, and collect royalties and monies on behalf of Plaintiff, absent Plaintiff’s

knowledge and without any express or implied authority; this allowed Boladian

unfettered access to Plaintiff’s intellectual property and facilitated all kinds of


                                                 37
         Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 38 of 51




unauthorized licensing, sale, and sampling agreements that Plaintiff has or is yet to

uncover.

      133. Defendant Boladian, as Plaintiff’s agent, intentionally lied, misrepresented,

and deceived Plaintiff through acts and omissions related to managing and handling of

Plaintiff’s intellectual property rights, and other property rights, including but not limited

to, royalties and other monies rightfully owned by Plaintiff, and the agreements that

Boladian continue to enter into on behalf of Plaintiff absent Plaintiff’s knowledge or

authority.

      134. To this day, Defendants through deceptive practices and acts and omissions,

continue to engage in unauthorized agreements and continue to collect and deprive

Plaintiff of royalties, licensing fees, monies, and other fees that are rightfully owed to

Plaintiff for intellectual property works created by Plaintiff.

      135. Defendants' misrepresentation and deceit spans decades, where Defendants,

through willful acts and omissions, created and still create schemes relating to Plaintiff’s

rightful ownership of his intellectual property work, royalties, and other monies and fees.

      136. Defendants have frequently lied and omitted and continue to lie and omit the

nature and number of agreements they have entered on behalf of Plaintiff, accurate

accounting of profits, royalties and monies collected on behalf of Plaintiff for Plaintiff’s

intellectual property work.




                                                38
           Case 4:25-cv-00108-MW-MJF      Document 1      Filed 03/11/25   Page 39 of 51




       137. Plaintiff reasonably relied to his detriment on the integrity of Defendants and

their misrepresentations that they were managing his intellectual property to his detriment

       138. To this day, Plaintiff is still uncovering new misrepresentations and omissions

that Defendants continue to carry out regarding Plaintiff’s intellectual property.

       139. As a direct and proximate result of Defendants’ participation in schemes,

fraud, deception, and tortuous failure to disclose, Plaintiff suffered and is still suffering

injuries and millions of dollars in damages due to Defendants’ misrepresentations, for

which Defendants are liable. Plaintiff seeks all damages, interests, costs, and all other

relief the Court deems just and proper.

                                EIGTH CAUSE OF ACTION
                                 UNJUST ENRICHMENT
                                   Against All Defendants
       140. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

       141. Through fraud or prior dealings, Defendants presented themselves and acted

as publishers of Plaintiff’s catalog.

       142. By representing themselves as Clinton’s publishers, Defendants accessed,

received, and continue to receive publisher royalties from record labels and other third

parties.

       143. Further, by representing themselves to record labels and other third parties as

Clinton’s agents and publishers, they were able to enter into licensing agreements, sales



                                                39
          Case 4:25-cv-00108-MW-MJF        Document 1     Filed 03/11/25   Page 40 of 51




agreements, and sampling agreements on Plaintiff’s behalf without his prior knowledge

or consent and began collecting publisher royalties and other royalties without any right

or authority.

        144. Plaintiff was and is entitled to his portion of the publisher’s royalties in the

form of writer’s credit, mechanical royalties, and other monies that are duly owed to him

for his own creative catalog and compositions.

        145. Further, Plaintiff is also entitled to receive publisher royalties and other

royalties, monies, and fees that Defendants are fraudulently collecting without any right

or authority.

        146. Plaintiff to this day has not received any royalty payments that Defendants

were obligated to distribute to Plaintiff, or royalties, and other monies and, fees that

Defendants had no right or authority to collect on his behalf which are rightfully owned

by him for the catalog that he has created.

        147. Plaintiff conferred substantial benefits upon Defendants, either willingly or

unwillingly, for which Defendants have received and continue to receive millions of

dollars in revenues through fraud, deceit, and other illegalities.

        148. Plaintiff has suffered and continues to suffer substantial loss from royalty

payments and other payments that are rightfully owed to him due to Defendants unlawful

acts.




                                                40
         Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 41 of 51




       149. In light of Defendants’ extensive conspiracy to deceive and defraud Plaintiff,

it would be completely inequitable to allow Defendants to retain the benefits of Plaintiff’s

artistic talents and work without adequately compensating Plaintiff—justice demands

otherwise.

       150. As a direct and proximate cause of Defendants’ improper retention of

Plaintiff’s benefits stemming from an extensive conspiracy to deceive and defraud,

Plaintiff has suffered damages in the form of lost benefits, revenues, profits,

compensation, royalty payments and other monies rightfully owned by, and owed to

Plaintiff. Plaintiff seeks restitution to recover such damages, interest, costs, and all other

relief the Court deems just and proper of which Defendants have improperly retained and

the Plaintiff has lost.

       151. Accordingly, Plaintiff seeks monetary equitable relief in the amount of (a) any

added value to the Defendants’ businesses, and (b) any additional income received

personally by the individual Defendants, but only to the extent that (a) and (b) are

attributable to third-party knowledge of the Defendants’ history, experience, and/or

reputation of working with the Plaintiff. Plaintiff also seeks to recover interest on the

same costs and all other relief the Court deems just and proper.




                                                41
         Case 4:25-cv-00108-MW-MJF         Document 1     Filed 03/11/25    Page 42 of 51




                               NINTH CAUSE OF ACTION
                             BREACH OF FIDUCIARY DUTY
                                 Against All Defendants

      152. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set

forth herein.

      153. Defendants, through prior dealings with Plaintiff and through direct

appointment by the Plaintiff, were agents of the Plaintiff.

      154. Boladian over the past few decades acted as Plaintiff’s publisher, and

administrator and continue to hold himself as a person authorized to sign deals and

agreements, and collect royalties and monies on behalf of Plaintiff, absent Plaintiff’s

knowledge and without any express or implied authority; this allowed Boladian

unfettered access to Plaintiff’s intellectual property and facilitated a host of unauthorized

licensing, sale, and sampling agreements that Plaintiff has or is yet to uncover.

      155. Boladian was and continues to be the sole decision maker of all Defendant

Business Entities. Boladian, as an agent and corporate representative for all Defendant

Business Entities, was acting as a fiduciary on behalf of himself and as a representative

of Defendant Business Entities.

      156. Defendants through customary industry practice, their fraudulent dealings and

agreements with Plaintiff and other third parties, and as part of their duties continue to

act as agents of Plaintiff and as such, were and still are required to collect royalties, fees,




                                                42
         Case 4:25-cv-00108-MW-MJF           Document 1   Filed 03/11/25   Page 43 of 51




and monies, to provide accounting of such royalties, and to distribute Plaintiff’s shares

of said royalties and monies to Plaintiff.

       157. Defendants, while acting as agents of Plaintiff were and are required to

provide accurate accounting and to pay Plaintiff royalties, monies, and fees as part of

their duties.

       158. Defendants have consistently failed to fulfill their fiduciary duties to Plaintiff

and consistently withheld millions of dollars in royalties, monies, and fees that are

rightfully owned by Plaintiff. Defendants breached their fiduciary duties to Plaintiff by

withholding millions of dollars that are rightfully owed to Plaintiff.

       159. Defendants continue to breach their fiduciary duties to Plaintiff by continuing

to withhold accounting, royalties, and monies owed to Plaintiff.

       160. As a direct and proximate result of Defendants’ breach, Plaintiff has suffered

damages in the form of lost profits, publishing and mechanical royalties, fees, and other

monies rightfully owned by and owed to Plaintiff. Plaintiff seeks restitution to recover

profits and benefits gained by Defendant as a result of Plaintiff’s loss, and all other

damages, interest, costs, and other relief the Court deems just and proper. Further, due to

Defendants’ purposeful withholding of millions of dollars from Plaintiff done with

disregard to Plaintiff’s rights, Plaintiff seeks punitive damages available under Florida

law.




                                                 43
          Case 4:25-cv-00108-MW-MJF       Document 1      Filed 03/11/25   Page 44 of 51




                                TENTH CAUSE OF ACTION
                                     NEGLIGENCE
                                   Against All Defendants

       161. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

       162. Defendants as publishers of Plaintiff’s intellectual property work have a duty

to carry on publishers’ duties that are required by them through customary industry

practice, agreements, and prior practices between Plaintiff and Defendants.

       163. As publishers for Plaintiff, Defendants are required to distribute

mechanical/publisher royalties, provide accurate accounting, and (other duties) to

Plaintiff.

       164. Defendants have breached their duty as agents by intentionally and

consistently withholding royalties, monies, accounting (and other duties) that are owed

to Plaintiff which amount to millions of dollars in revenue.

       165. As a result of Defendants continuous breach, Plaintiff suffered and continues

to suffer damages in the form of millions of dollars in loss of revenue. Plaintiff seeks to

recover damages, interest, costs, and all other relief the Court deems just and proper.

Further, due to Defendants’ intentional, continuous, and consistent withholding of

royalties, monies, accounting (and other duties) that are owed to Plaintiff, Plaintiff seeks

punitive damages pursuant to Fla. Stat. § 768.73.




                                                44
          Case 4:25-cv-00108-MW-MJF       Document 1     Filed 03/11/25   Page 45 of 51




                             ELEVENTH CAUSE OF ACTION
                              PRELIMINARY INJUNCTION
                                 Against All Defendants

      166. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      167. Plaintiff has pled significant, consequential, and sufficient facts set forth in

this Complaint, which support a substantial likelihood of success on the merits.

      168. Plaintiff suffered and continues to suffer substantial harm as Defendants

continue their systemic, abusive, and fraudulent practice to steal and divert assets that are

rightfully owed to Plaintiff—irreparably harming Plaintiff.

      169. Further, based on Defendants’ actions, specifically Boladian. Plaintiff has

reason to believe that Boladian is soliciting the sale of assets including the rights and

ownership interests in Plaintiff catalog—irreparably harm Plaintiff.

      170. Plaintiff’s significant and devastating injuries that occurred and will continue

to occur, outweighs any possible harm that Defendants might accrue by the entry of a

temporary injunction limiting any asset transfer, sale, or otherwise.

      171. The entry of a temporary injunction and/or preliminary injunction will not

conflict with the public interests.

      172. Accordingly, Plaintiff seeks a preliminary injunction against all Defendants

to prevent further harm to Plaintiff.




                                               45
          Case 4:25-cv-00108-MW-MJF       Document 1      Filed 03/11/25   Page 46 of 51




                              TWELTH CAUSE OF ACTION
                                   ACCOUNTING
                                 Against All Defendants

      173. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      174. Over the decades, Defendants acted as Plaintiff’s publishers and

administrators and continue to hold themselves as entities authorized to sign deals and

agreements, and collect royalties and monies on behalf of Plaintiff, absent Plaintiff’s

knowledge and without any express or implied authority; which allowed Defendants

unfettered access to Plaintiff’s intellectual property and facilitated a host of unauthorized

licensing, sale, and sampling agreements that Plaintiff has or is yet to uncover.

      175. Boladian was and continues to be the sole decision maker for all Defendant

Business Entities; Boladian as an agent and corporate representative of all Defendant

Business Entities was acting as a fiduciary on behalf of himself and as a representative

of Defendant Business Entities.

      176. Defendants over the past few decades have and continue to act and represent

themselves to third parties as Plaintiff’s agents.

      177. Nonetheless, Plaintiff has yet to receive an accounting, royalty payments,

monies, and other fees that are rightfully owed to him.

      178. Accordingly, Plaintiff seeks an accounting of all publishing royalties that

Defendants received for or in connection to all of Clinton’s creative catalog and an


                                               46
           Case 4:25-cv-00108-MW-MJF        Document 1      Filed 03/11/25   Page 47 of 51




accounting of all monies, fees, and profits in relation to assignment, licensing, sale, and

sampling agreements that Defendants have executed on behalf of Plaintiff, with or

without his knowledge or consent, within the United States of America or around the

globe.

                              THIRTEENTH CAUSE OF ACTION
                                  CONSTRUCTIVE TRUST
                                   Against All Defendants

         179. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

         180. Defendants through deceptive practices and acts and omissions, have and

continue to engage in unauthorized agreements and collect and deprive Plaintiff of

royalties, licensing fees, monies, and other fees that are rightfully owed to Plaintiff for

intellectual property works created by Plaintiff.

         181. Plaintiff has yet to receive an accounting, royalty payments, monies, and other

fees that are rightfully owed to him.

         182. Defendants, who have withheld an accounting, royalty payments, monies, and

other fees that are rightfully owed to Plaintiff, must provide an accounting of and earnings

related to all publishing royalties received in connection to Plaintiff’s creative catalog,

otherwise Defendants will continue to be unjustly enriched.

         183. Accordingly, Plaintiff seeks an accounting of and earnings related to all

publishing royalties that Defendants received for or in connection to all of Plaintiff’s


                                                  47
          Case 4:25-cv-00108-MW-MJF      Document 1      Filed 03/11/25   Page 48 of 51




creative catalog, an accounting of all monies, fees, and profits in relation to assignment,

licensing, sale, and sampling agreements that Defendants have executed on behalf of

Plaintiff, with or without his knowledge or consent, within the United States of America

or around the globe.

      184. Plaintiff further requests that the Court places Defendants’ bank accounts and

other assets in constructive trust until such time as said accounting is complete and

Plaintiff is made whole for Defendants’ wrongful misappropriation of all monies, fees,

and profits in relation to assignment, licensing, sale, and sampling agreements derived

from Plaintiff’s creative catalog.

                           FOURTEENTH CAUSE OF ACTION
                            FRAUDULENT CONCEALMENT
                                Against All Defendants

      185. Plaintiff realleges and incorporates paragraphs 1 through 68 as if fully set forth

herein.

      186. Defendants knowingly and intentionally lied and misrepresented and continue

to lie and misrepresent to Plaintiff the nature of agreements defendants entered into on

Plaintiff’s behalf and the amount of royalties and monies they are collecting on his behalf

with the intent to hide and conceal from Plaintiff.

      187. Defendants had a duty to disclose these dealings but never placed Plaintiff on

notice of any dealings or provided any of the promised accounting, mechanical royalty,

writer’s credit, songwriter’s royalties, or any other royalties due to Plaintiff and knew


                                               48
         Case 4:25-cv-00108-MW-MJF        Document 1     Filed 03/11/25    Page 49 of 51




concealing this information would induce Plaintiff to reasonably rely on their

misrepresentations.

      188. Plaintiff reasonably relied to his detriment on the integrity of Defendants and

their misrepresentations that they were managing his intellectual property to his

detriment.

      189. Plaintiff was and is entitled to his portion of the publisher’s royalties in the

form of writer’s credit, mechanical royalties, and other monies that are duly owed to him

for his own creative catalog and compositions.

      190. To this day, Defendants through deceptive practices and acts and omissions,

still engage in unauthorized agreements and still collect and deprive Plaintiff of royalties,

licensing fees, monies, and other fees that are rightfully owed to Plaintiff for intellectual

property work created by Plaintiff.

      191. Plaintiff has yet to receive an accounting, royalty payments, monies, and other

fees that are rightfully owed to him.

      192. Accordingly, Plaintiff seeks an accounting of and earnings related to all

publishing royalties that Defendants received for or in connection to all of Plaintiff’s

creative catalog, an accounting of all monies, fees, and profits in relation to assignment,

licensing, sale, and sampling agreements that Defendants have executed on behalf of

Plaintiff, with or without his knowledge or consent, within the United States of America

or around the globe.


                                               49
      Case 4:25-cv-00108-MW-MJF        Document 1    Filed 03/11/25   Page 50 of 51




                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that this Honorable Court enter judgment

against Defendants, jointly and severally:

        A.    Compensatory and consequential damages in an amount to be

determined by a jury in excess of the Court’s jurisdictional amount;

        B.    Restitution in an amount to be determined by a jury for all damages

gained by Defendant as a result of their intentional, actual, and malicious conduct

that equated to losses by Plaintiff;

        C.    Punitive damages in an amount to be determined by a jury, for the

intentional, actual, and malicious conduct of Defendants in their individual

capacities;

        D.    Attorneys’ fees and the costs of this action and other costs that may be

associated with this action;

        E.    All statutory damages including but not limited to those prescribed

under Fla. Stat. § 772.11;

        F.    Declaratory judgment that Plaintiff’s termination notices are effective;

and

        G.    Any and all other relief that this Court deems equitable, just, and proper.




                                           50
   Case 4:25-cv-00108-MW-MJF        Document 1     Filed 03/11/25    Page 51 of 51




                                 JURY DEMAND

      Plaintiff respectfully demands a trial by jury of all claims triable within this

matter.

                                           Respectfully submitted,

DATED: March 11, 2025
                                           /s/ Eli J. Hare
                                           Eli J. Hare


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                                          *Motion for pro hac vice admission to be
                                          filed.




                                         51
